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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

 FLOYD WALKER III, individually              Case No.
 and on behalf of all others similarly
 situated,                                   CLASS ACTION

               Plaintiff,                    DEMAND FOR JURY TRIAL

 v.

 PHILLIPS & COHEN
 ASSOCIATES, LTD., a New Jersey
 corporation,

               Defendant.

      Plaintiff Floyd Walker III (“Plaintiff” or “Walker III”) brings this Class

Action Complaint and Demand for Jury Trial against Defendant Phillips & Cohen

Associates, Ltd., (“Defendant” or “Phillips & Cohen Associates”) to stop the

Defendant from violating the Telephone Consumer Protection Act by making calls

without consent to consumers’ cellular phone numbers using pre-recorded voice

messages. Plaintiff also seeks injunctive and monetary relief for all persons injured

by Defendant’s conduct. Plaintiff, for this Complaint, alleges as follows upon

personal knowledge as to himself and his own acts and experiences, and, as to all

other matters, upon information and belief, including investigation conducted by his

attorneys.

                                    PARTIES
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      1.       Plaintiff Floyd Walker III is a resident of West Glasgow, Kentucky.

      2.       Defendant Phillips & Cohen Associates is a New Jersey corporation.

Defendant Phillips & Cohen Associates conducts business throughout this District,

and the U.S.

                          JURISDICTION AND VENUE

      3.       This Court has Federal question subject matter jurisdiction over this

action under 28 U.S.C. § 1331, as the action arises under the Telephone Consumer

Protection Act, 47 U.S.C. § 227 (“TCPA”).

      4.       This Court has personal jurisdiction over the Defendant and the venue

is proper under 28 U.S.C. § 1391(b) because the Defendant resides in this District.

                                 INTRODUCTION

      5.       As the Supreme Court recently explained, “Americans passionately

disagree about many things. But they are largely united in their disdain for robocalls.

The Federal Government receives a staggering number of complaints about

robocalls—3.7 million complaints in 2019 alone. The States likewise field a constant

barrage of complaints. For nearly 30 years, the people’s representatives in Congress

have been fighting back.” Barr v. Am. Ass'n of Political Consultants, No. 19-631,

2020 U.S. LEXIS 3544, at *5 (U.S. July 6, 2020).

      6.       When Congress enacted the TCPA in 1991, it found that Americans

were receiving more than 18 million robocalls every day. 105 Stat. 2394 at § 2(3).



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         7.     By 2003, due to more powerful autodialing technology, Americans

were receiving more than 100 million robocalls every day. In re Rules and

Regulations Implementing the TCPA of 1991, 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).

         8.     The problems Congress identified when it enacted the TCPA have only

grown exponentially in recent years.

         9.     Industry data shows that the number of robocalls made each month

increased from 831 million in September 2015 to 4.7 billion in December 2018—a

466% increase in three years.

         10.    According to online robocall tracking service “YouMail,” 4.4 billion

robocalls were placed in March 2022 alone, at a rate of 140.8 million calls per day.

www.robocallindex.com (last visited April 10, 2022).

         11.    The FCC also has received an increasing number of complaints about

unwanted calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and

232,000        complaints       in    2018.     FCC,      Consumer      Complaint   Data

Center, www.fcc.gov/consumer-help-center-data.

         12.    “Robocalls and telemarketing calls are currently the number one source

of consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22,

2016), statement of FCC chairman.1




1
    https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls

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       13.    “The FTC receives more complains about unwanted calls than all other

complaints combined.” Staff of the Federal Trade Commission’s Bureau of

Consumer Protection, In re Rules and Regulations Implementing the Telephone

Consumer Protection Act of 1991, Notice of Proposed Rulemaking, CG Docket No.

02-278, at 2 (2016).2

                            COMMON ALLEGATIONS

       14.    Defendant Phillips & Cohen Associates is a third-party debt collection

company.

       15.    As part of its business, Defendant Phillips & Cohen Associates contacts

consumers to collect on debts using prerecorded voice messages.

       16.    Defendant Phillips & Cohen Associates places debt collection calls

using a prerecorded voice to some consumers who do not owe any debts to them and

from whom it has never obtained prior express written to place such calls, like in the

case of Plaintiff Walker III.

       17.    Multiple consumers have posted complaint regarding calls they

received from and/or on behalf of Defendant Phillips & Cohen Associates, similar

to those received by Plaintiff Walker III, including complaints of receiving




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  https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-
consumer-protection-federal-communications-commission-rules-
regulations/160616robocallscomment.pdf

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unsolicited pre-recorded calls from 866-321-2197, the same phone number from

which the Plaintiff Walker III was called, for instance:




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  https://directory.youmail.com/directory/phone/8663212197
4
  https://reverd.com/blog/1-866-321-2197/4
5
  Id.

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6
  https://800notes.com/Phone.aspx/1-866-321-2197/2
7
  Id.
8
  Id.

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  https://whocallsme.com/Phone-Number.aspx/8663212197
10
   Id.
11
   Id.

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                    PLAINTIFF WALKER III’S ALLEGATIONS

           18.   Plaintiff Walker III is the sole subscriber and user of the cell phone

number ending xxx-xxx-8452.

           19.   In March 2022, Plaintiff Walker III started receiving calls from

Defendant Phillips & Cohen Associates on his cell phone. Plaintiff answered the

calls, which started with a prerecorded message in automated voice regarding a debt

owed to the Defendant. Plaintiff stayed on the call, pressed the keys as prompted by

the automated voice message and spoke to the Defendant’s employees on multiple

occasions and informed them that they had the wrong number and requested them

to stop calling his cell phone.

           20.   Plaintiff Walker III received such phone calls from the Defendant on:

           • March 17, 2022, at 1:41 PM:




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     Id.

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      • March 24, 2022, at 2:02 PM and 2:04 PM:




      21.   On calling the phone number 866-321-2197, it is answered by an

automated voice system which identifies Defendant Phillips & Cohen Associates.

      22.   Despite the stop requests, Plaintiff Walker III continues to receive calls

from the Defendant Phillips & Cohen Associates using pre-recorded voice messages.

      23.   The unauthorized pre-recorded telephone calls that Plaintiff received

from and/or on behalf of the Defendant have harmed Plaintiff Walker III in the form

of annoyance, nuisance, and invasion of privacy, occupation of his phone line and

disturbance of the use and enjoyment of his phone, wear and tear on the phone’s

hardware (including the phone’s battery), and consumption of memory on the phone.

      24.   Seeking redress for these injuries, Plaintiff Walker III, on behalf of

himself and Class of similarly situated individuals, brings suit under the TCPA.

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                             CLASS ALLEGATIONS

      25.    Plaintiff Walker III brings this action pursuant to Federal Rules of Civil

Procedure 23(b)(2) and 23(b)(3) and seek certification of the following Class:

      Pre-recorded No Consent Class: All persons in the United States who from
      four years prior to the filing of this action through trial (1) the Defendant (or
      an agent on Defendant’s behalf) called on their cellular telephone number (2)
      using the same or a similar pre-recorded voice message as was used to call the
      Plaintiff.

      26.    The following individuals are excluded from the Class: (1) any Judge

or Magistrate presiding over this action and members of their families; (2)

Defendant, their subsidiaries, parents, successors, predecessors, and any entity in

which either Defendant or their parents have a controlling interest and their current

or former employees, officers and directors; (3) Plaintiff’s attorneys; (4) persons

who properly execute and file a timely request for exclusion from the Classes; (5)

the legal representatives, successors or assigns of any such excluded persons; and

(6) persons whose claims against the Defendant has been fully and finally

adjudicated and/or released. Plaintiff Walker III anticipates the need to amend the

Class definition following appropriate discovery.

      27.    Numerosity: On information and belief, there are hundreds, if not

thousands of members of the Class such that joinder of all members is impracticable.

      28.    Commonality and Predominance: There are many questions of law

and fact common to the claims of the Plaintiff and the Class, and those questions


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predominate over any questions that may affect individual members of the Class.

Common questions for the Class include, but are not necessarily limited to the

following:

      (a)    whether Defendant used a prerecorded message to make calls;

      (b)    whether Defendant had consent to make the calls;

      (c)    whether Defendant’s conduct violated the TCPA; and

      (d)    whether members of the Class are entitled to treble damages based on

             the willfulness of Defendant’s conduct.

      29.    Adequate Representation: Plaintiff will fairly and adequately

represent and protect the interests of the Class, and has retained counsel competent

and experienced in class actions. The Plaintiff has no interests antagonistic to those

of the Class, and Defendant have no defenses unique to the Plaintiff. The Plaintiff

and his counsel are committed to vigorously prosecuting this action on behalf of the

members of the Class and have the financial resources to do so. Neither the Plaintiff

nor his counsel have any interest adverse to the Class.

      30.    Appropriateness: This class action is also appropriate for certification

because the Defendant have acted or refused to act on grounds generally applicable

to the Class, thereby requiring the Court’s imposition of uniform relief to ensure

compatible standards of conduct toward the members of the Class and making final

class-wide injunctive relief appropriate. Defendant’s business practices apply to and



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affect the members of the Class uniformly, and Plaintiff’s challenge of those

practices hinges on Defendant’s conduct with respect to the Class, not on facts or

law applicable only to Plaintiff Walker III. Additionally, the damages suffered by

individual members of the Class will likely be small relative to the burden and

expense of individual prosecution of the complex litigation necessitated by

Defendant’s actions. Thus, it would be virtually impossible for the members of the

Class to obtain effective relief from Defendant’s misconduct on an individual basis.

A class action provides the benefits of single adjudication, economies of scale, and

comprehensive supervision by a single court.

                         FIRST CLAIM FOR RELIEF
                     Telephone Consumer Protection Act
                          (Violation of 47 U.S.C. § 227)
  (On Behalf of Plaintiff Walker III and the Pre-recorded No Consent Class)

      31.    Plaintiff repeats and realleges paragraphs 1 through 30 of this

Complaint and incorporates them by reference herein.

      32.    Defendant transmitted unwanted telephone calls to Plaintiff Walker III

and the other members of the Pre-recorded No Consent Class using a pre-recorded

voice message.

      33.    These pre-recorded voice calls were made en masse without the prior

express written consent of the Plaintiff Walker III and the other members of the Pre-

recorded No Consent Class.

      34.    Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a

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result of Defendant’s conduct, Plaintiff Walker III and the other members of the Pre-

recorded No Consent Class are each entitled to a minimum of $500 in damages, and

up to $1,500 in damages, for each violation, as well as injunctive relief.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for

the following relief:

       a)    An order certifying this case as a class action on behalf of the Class;

             appointing Plaintiff as the representative of the Class; and appointing

             his attorneys as Class Counsel;

       b)    An award of statutory damages and costs;

       c)    An order declaring that Defendant’s actions, as set out above, violate

             the TCPA;

       d)    An injunction requiring Defendant to cease all unsolicited calling

             activity, and to otherwise protect the interests of the Class; and

       e)    Such further and other relief as the Court deems just and proper.

                                  JURY DEMAND

      Plaintiff Walker III requests a jury trial.

                                        FLOYD WALKER III, individually and
                                        on behalf of all others similarly situated,


DATED this 28th day of April, 2022.


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